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2

AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture

 

UNITED STATES DISTRICT COURT

FILED
for the UNITED STATES DISTRICT COURT
District of Colorado DENVER, COLORADO

4:39 pm, Nov 12, 2020

: P. COLWELL, CLERK
In the Matter of the Seizure of JEFFREY

(Briefly describe the property to be seized)
All funds up to $77,888, 782.62 in Mirabaud Bank
account #509951 in the name of Edge Capital
Investments, Ltd., located in Switzerland

Case No. 20-mc-00183-MEH

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WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests that certain property
located in Switzerland be seized as being
subject to forfeiture to the United States of America. The property is described as follows:

All funds up to $77,888,782.61 in Mirabaud Bank account #509951 in the name of Edge Capital Investments, Ltd., located in
Switzerland

I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

YOU ARE COMMANDED to execute this warrant and seize the property on or before November 6, 2020
(not to exceed 14 days)

in the daytime 6:00 a.m. to 10:00 p.m. ‘(1 at any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of any property seized
and the officer executing the warrant must promptly return this warrant and a copy of the inventory to

Michael E. Hegarty
(United States Magistrate Judge)

CQ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

© for days (not to exceed 30) © until, the facts justifying, the later specific date of
«nt DiN7 a,

OX Mike IE. Hegel,

Judge's signadre VV

   
 

Date and time issued:

 

City and state: Denver, Colorado Michael E. Hegarty, U.S. Magistrate Judge

"Printed name and title

 

 

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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture (Page 2)
Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

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Inventory made in the presence of:

 

Inventory of the property taken:

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Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

. ‘“
Date: 1//® o7 RS
C fiting officer 's signature

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